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 § 205.020                              Van Buren City Code                                 § 205.040

    to a collar to be worn continuously by the animal for which the tag was issued. It shall be
    unlawful for the owner or keeper of any dog or cat to permit such animal to remain in the City
    of Van Buren unless wearing the tag above provided for herein.


 SECTION 205.030: RUNNING AT LARGE PROHIBITED-IMPOUNDMENT

     It shall be unlawful for the owner or keeper of any dog or cat to permit the same to run at large
     within the City of Van Buren at any time. Any dog or cat found without the tag provided in
     Section 205.020, and any dog or cat found running at large, shall be impounded.


 SECTION 205.035: RESPONSIBILITY OF PARENT OR GUARDIAN OF MINOR
                  OWNING

     The parent or guardian of a minor child is responsible for the adequate care of any animal
     owned by, in the control of, or harbored by that minor child.


SECTION 205.040: VICIOUS DOGS PROHIBITED-EXCEPTIONS

     It shall be unlawful to own, keep or harbor a vicious dog in the City of Van Buren except in
     accordance with the following provisions:

     1.   Leash and muzzle. No person shall permit a vicious           to go outside its kennel or pen
          unless such dog is securely leashed with a leash no long han four (4) feet in length. No
          person shall permit a vicious dog to be kept on a chain, ro     r other type of leash outside
          its kennel or pen unless a person is in physical control ofth     sh. Such dogs may not be
          leashed to inanimate objects such as trees, posts or buildings. In addition, all vicious dogs
          on a leash outside its kennel or pen must be muzzled by a muzzling device sufficient to
          prevent such dog from biting persons or other animals.

     2.   Confinement. All vicious dogs shall be securely confined indoors or in a securely enclosed
          and locked pen or kennel, except when leashed and muzzled as above provided. Such pen,
          kennel or structure must have secure sides and a secure top attached to the sides. All
          structures used to confine vicious dogs must be locked with a key or combination lock
          when such dogs are within the structure. Said structure must have a secure bottom or floor
          attached to the sides of the pen or the sides of the pen must be imbedded in the ground no
          less than two (2) feet. Also, such structures must be adequately lighted and ventilated and
          kept in a clean and sanitary condition.

     3.   Confinement indoors. No vicious dog may be kept on a porch, patio or any part of a house
          or structure that would allow the dog to exit such building on its own volition. In addition,
          no such animal may be kept in a house or structure when the windows are open or when
          screen windows or screen doors are the only obstacle preventing the dog from exiting the
          structure.

     4.   Signs. All owners, keepers or harborers of vicious dogs within the City shall display in a
          prominent place on their premises a sign easily readable by the public using the words
          "Beware ofDog ". In addition, a similar sign is required to be posted on the kennel or pen
          of such dog.


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 § 205.050                                Animal Regulations                                   § 205.090

 SECTION 205.050: NOTICE OF IMPOUNDMENT

      Every officer impounding a dog or cat under this Chapter shall, within twenty-four (24) hours
      after such impounding, enter upon a registry open to the public and in plain public view at the
      City Hall of the City a description of such dog or cat, including breed, color and approximate
      size, and the date apprehended, and if the owner or keeper is known, the name and address of
      such owner or keeper; or the owner or keeper shall be given actual notice of the impoundment
      of such dog or cat before disposition of such dog or cat.


 SECTION 205.060: REIMBURSEMENT OF COSTS

      The owner or keeper of any dog or cat impounded under this Chapter shall pay to the Chief of
      Police, Police Officer, or other official especially designated to receive the same a sum sufficient
      to reimburse the City for its costs in impounding such dog or cat and keeping it impounded.


 SECTION 205.070: IMPOUNDMENT FEES

      The owner of such impounded dogs, upon the payment of a redemption fee of five dollars
      ($5.00) and the sum of two dollars ($2.00) per day for care and feeding, may redeem such
      impounded dog. Upon a second (2nd) offense, the owner shall pay a redemption fee of ten
      dollars ($10.00) plus two dollars ($2.00) per day for care and feeding. Upon a third (3rd)
      offense, the owner shall pay a redemption fee offi:fteend ars ($15.00) plus two dollars ($2.00)
      per day for care and feeding. Upon a fourth (4th) or subs uent offense, the owner of such dog
      shall be deemed guilty of a misdemeanor punishable by a        otto exceed twenty-five dollars
      ($25.00) plus court costs or by imprisonment in the County J · not to exceed thirty (30) days,
      or by both such fine and imprisonment. (Ord. No. 246 §5, 7-5 8


 SECTION 205.080: TERM OF IMPOUNDMENT

      It shall be the duty of any officer impounding any dog or cat under this Chapter to keep the same
      impounded for a period of seven (7) days, unless such dog or cat shall be reclaimed by his/her
      owner or keeper under Section 205.060 of this Chapter. If, after the expiration of seven (7) days
      from the date of such impoundment, such dog or cat shall not have been reclaimed, the same
      shall be disposed of or destroyed in a humane manner.


 SECTION 205.090: ANIMAL NEGLECT OR ABANDONMENT

 A. A person is guilty of animal neglect when he/she has custody or ownership or both of an animal
    and fails to provide adequate care or adequate control which results in substantial harm to the
    animal.

 B.   A person is guilty of animal abandonment when he/she has knowingly abandoned an animal in
      any place without making provisions for its adequate care.

 C. Animal neglect or animal abandonment are ordinance violations. For a first (1st) offense of
    either violation, a term of imprisonment not to exceed fifteen (15) days, or a fine not to exceed
    five hundred dollars ($500.00), or both such fine and imprisonment may be imposed. For a
    second (2nd)

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 § 205.090                             Van Buren City Code                                 § 205.110

     or subsequent violation of either offense, a term of imprisonment not to exceed ninety (90) days,
     or a fine not to exceed five hundred dollars ($500.00), or both such fine and imprisonment may
     be imposed. All fines and penalties for a first (1st) conviction of animal neglect or animal
     abandonment may be waived by the court provided that the person found guilty of animal
     neglect or abandonment shows that adequate, permanent remedies for the neglect or
     abandonment have been made. Reasonable costs incurred for the care and maintenance of
     neglected or abandoned animals may not be waived.

 D. In addition to any other penalty imposed by this Section, the court may order a person found
    guilty of animal neglect or animal abandonment to pay all reasonable costs and expenses
    necessary for:

     1.   The care and maintenance of neglected or abandoned animals within the person's custody
          or ownership;

     2.   The disposal of any dead or diseased animals within the person's custody or ownership;

     3.   The reduction of resulting organic debris affecting the immediate area of the neglect or
          abandonment; and

     4.   The avoidance or minimization of any public health risks created by the neglect or
          abandonment of the animals.


 SECTION 205.100: ANIMAL ABUSE

     A person is guilty of animal abuse when a person:

     1.   Intentionally or purposely kills an animal in any manner       lowed by or expressly
          exempted from the provisions of Sections 578.005 to 578.023 and 273.030, RSMo.;

     2.   Purposely or intentionally causes injury or suffering to an animal; or

     3.   Having ownership or custody of an animal knowingly fails to provide adequate care or
          adequate control.

              Note-Under certain circumstances this offense can be a felony under state law.


 SECTION 205.110: KNOWINGLY RELEASING AN ANIMAL

 A. A person commits the offense of knowingly releasing an animal if that person, acting without
    the consent of the owner or custodian of an animal, intentionally releases any animal that is
    lawfully confined for the purpose of companionship or protection of persons or property or for
    recreation, exhibition or educational purposes.

 B. As used in this Section, "animal" means every living creature, domesticated or wild, but not
    including Homo sapiens.

 C. The provisions of this Section shall not apply to a public servant acting in the course of such
    servant's official duties.


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     § 205.120                           Animal Regulations                                 § 205.140

 SECTION 205.120: QUARANTINE ORDER TO BE ISSUED BY MAYOR-TO BE
                  PUBLISHED AND POSTED

     Whenever rabies becomes prevalent in the City, the Mayor shall, according to the necessity of
     the case, issue a quarantine order, requiring every owner or person in charge of any dog or dogs
     within the limits of the City, to either kill or impound his/her dog or dogs, or to have such dog
     or dogs immunized. Said order shall be published once in the paper officially publishing the
     business of the City; and in the absence of such paper, shall be posted as in case of sales of
     personal property. The Mayor is authorized by proclamation to terminate any such quarantine
     whenever, in his/her judgment, the necessity for it no longer exists.


 SECTION 205.130: DANGEROUS WILD ANIMALS PROHIBITED

     No person may keep any lion, tiger, leopard, ocelot, jaguar, cheetah, margay, mountain lion,
     Canada lynx, bobcat, jaguarundi, hyena, wolf, bear, non-human primate, coyote, any deadly,
     dangerous or poisonous reptile, or any deadly or dangerous reptile over eight (8) feet long in any
     place other than a properly maintained zoological park, circus, scientific or educational
     institution, research laboratory, veterinary hospital, or animal refuge.


SECTION 205.140: DOGS NOT ALLOWED TO D                               PERSONS OR PROPERTY

 A. It shall be unlawful for any person to allow his/her

 B. Any person who violates this Section may be        punishedlls~~lut    in Section I 00.220 of this
    Code. (Ord. No. 273 §6-140, 1-14-86)




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